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                                                                                        FILED
                                                                                     June 12, 2024

                                                                                 CLERK, U.S. DISTRICT COURT
                             UNITED STATES DISTRICT COURT                        WESTERN DISTRICT OF TEXAS
                              WESTERN DISTRICT OF TEXAS                               By:     CR
                                                                                                        Deputy
                                   De      O DIVISION
                                      L RiIo
                                     El
                                                                             DR:24-CR-01474-EG
UNITED STATES OF AMERICA                          §      Cause No.
                                                  §
                                                  §      INDICTMENT
                                                  §
v.                                                §      [VIO: COUNT ONE: 18 U.S.C. §
                                                  §      922(g)(1) and 924(a)(8) - Felon inPossession of a Firearm
                                                  §
                                                  § 922(g)(1) and 924(a)(8) - Felon in Possession of a Firearm
                                                  §
MICHAEL LANE HAYES                                §


THE GRAND JURY CHARGES:

                                          COUNT ONE
                               [18 U.S.C. § 922(g)(1) and 924(a)(8)

                                                                      Defendant,

                                    MICHAEL LANE HAYES,

knowing he had been convicted of a crime punishable by imprisonment for a term exceeding one

year, did knowingly possess a firearm, to wit:, a Smith and Wesson, Model SD40 VE, .40 caliber pistol

(S/N: FZS9228), said firearm having been shipped and transported in interstate commerce, in

violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(8).
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                                            COUNT TWO
                                 [18 U.S.C. § 922(g)(1) and 924(a)(8)

                                                                            Defendant,


                                     MICHAEL LANE HAYES,


knowing he had been convicted of a crime punishable by imprisonment for a term exceeding one


year, did knowingly possess a firearm, to wit:, a Hatfield, Model SGL .410 bore shotgun (S/N:


410S17-005228, said firearm having been shipped and transported in foreign commerce, in


violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(8).


    NOTICE OF UNITED STATES OF AMERICA'S DEMAND FOR FORFEITURE
                        [See Fed. R. Crim. P. 32.2]

                                                I.
                         Firearms Violation and Forfeiture Statutes
                                  [Title 18 U.S.C. § 922(g)(1),
                subject to forfeiture pursuant to Title 18 U.S.C. § 924(d)(1),
             made applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c).]

       As a result of the foregoing criminal violations set forth in Counts One and Two, the United

States of America gives notice to the Defendant of its intent to seek the forfeiture of property,

including any items listed below, upon conviction and as a part of sentence pursuant to Fed. R.

Crim. P. 32.2 and Title 18 U.S.C. § 924(d)(1), made applicable to criminal forfeiture pursuant to

Title 28 U.S.C. § 2461(c), which states the following:

   Title 18 U.S.C. § 924. Penalties
       (d)(1) Any firearm or ammunition involved in or used in any knowing violation of
         subsection . . . (g) . . . of section 922, . . . shall be subject to seizure and forfeiture ......

This Notice of Demand for Forfeiture includes but is not limited to the following.

   1. Smith & Wesson SD40 VE .40 caliber pistol, s/n FZS9228;
   2. Hatfield SGL .410 gauge shotgun, s/n 410S17-005228; and
   3. Any related ammunition and firearm accessories.
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JAIME ESPARZA
United States Attorney


By:
      Zachary D. Bird
      Assistant United States Attorney
